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UNITED STATES DISTRICT COURT

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for the
Southern District of Illinois
WC Ome Reed ) ilo - LOY M
1s \ ) Case Number: | 1) —
Kameron ) (Clerk's Office will provide)
Plaintiff/Petitioner(s) O CIVIL RIGHTS COMPLAINT
) pursuant to 42 U.S.C. §1983 (State Prisoner)
Wy ( om | Qre cok yer. ) o CIVIL RIGHTS COMPLAINT
“Tyad, (7. Colvell pursuant to 28 U.S.C. §1331 (Federal Prisoner)
Michael W- Born ) CIVIL COMPLAINT
UWCoeAley Cas pursuant to the Federal Tort Claims Act,
Defendant/Respondent(s) ) 8 US.C. §§1346, 2671-2680, or other law

~  JURESDICTIO NN
Plaintiff:

A. Plaintiff's mailing address, register number, and a lace of

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Defendant #1:
B. Defendant ‘Gerrte Wate kyy oy is employed as
noes of First Defendant)
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(b) (Position/ Title) J 5

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(c) (Employer's Name and Address)
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At the time the claim(s) alleged this complaint arose, was Defendant #1
employed by the state, local, or federal government? es ONo

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Case 3:16-cv-01034-SMY Document1 Filed 09/14/16 Page 3o0f18 Page ID#3

Defendant #2:
C. Defendant Tos We ' Cow el is employed as

(Name of Second Defendant)

Chtec3 Lianal officer

(Position / Tide)

wit MAA JA S.C.0, P.O. Roy 4ooe

r\ to 's Name and Address)

At the time the claim(s) alleged in this complaint arose, was Defendant #2
employed by the state, local, or federal government? es ONo

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Additional Defendant(s) (if any):
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I. PREVIOUS LAWSUITS

A.

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Have you begun any other lawsuits in state or federal court relating to
your imprisonment? aYes ONo

If your answer to “A” is YES, describe each lawsuit in the space below. If
there is more than one lawsuit, you must describe the additional lawsuits
on another sheet of paper using the same outline. Failure to comply with
this provision may result in summary denial of your complaint.

oo

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Defendant(s): My( Con Polak Nem BBD _

Court (if federal court, name of the district; if state court, name of

the county): “SICKSON ZI | ievot s
Docket number:

Name of Judge to whom case was assigned:

Type of case(for example: Was ita habeas corpus or civil rights
action”): 02s} CORKUY Chor P24rynun,

Disposition of case (for example: Was the case digmisged? Was it
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Approximate date of filing lawsuit: (> S De leans ee led

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i. GRIEVANCE PROCEDURE
A. Is therea prisoner grievance procedure in the institution? aie O No

B. Did you present the facts relating to your complaint in the pri
_ grievance procedure? es ONo

Cc. If your answer is YES,

1. What steps did you take? | ) oy
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E. If there is no prisoner grievance procedure in the institution, did you
complain to prison authorities? §=____—_-—_— Yes ONo

F. If your answer is YES,
1. What steps did you take?

2. What was the result?

ee

G. If your answer is NO, explain why not.

ee : a

H. Attach copies of your request for an administrative remedy and any
response you received. If you cannot do so, explain why not

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IV. STATEMENT OF CLAIM

A. Otate here, as briefly as possible, when, where, how, and by whom you feel
your constitutional rights were violated. Do not include legal arguments of
citations. If you wish to present legal arguments or citations, file a separate
memorandum of law. If you intend to allege a number of related claims,
number and set forth each claim in a separate paragraph. If your claims
relate to prison disciplinary proceedings, attach copies of the disciplinary
charges and any disciplinary hearing summary as exhibits. You should also
attach any relevant, supporting documentation.

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V. REQUEST FOR RELIEF

State exactly what you want this court to do for you. If you are a state or federal
prisoner and seek relief which affects the fact or duration of your imprisonment (for
example: illegal detention, restoration of good time, expungement of records, or
parole), you must file your claim on a habeas corpus form, pursuant to 28 U. 5.
Te §§ 2241, 2254, or 2255. Yo al of these forms are Tes fro DT fate oe

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_ VI. JURY DEMAND (check one box oy

The plaintiff Mice Poors request a trial by jury.

DECLARATION UNDER FEDERAL RULE OF CIVIL PROCEDURE 11

I certify to the best of my knowledge, information, and belief, that this complaint is in full
compliance with Rule 11{a) and 11(b) of the Federal Rules of Civil Procedure. The
undersigned also recognizes that failure to comply with Rule 11 may result in sanctions.

 

 

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(date) Signature of Plaintiff
v Oo. Bon Awd MO. Domiel Reber Hrsmaltor
Street Address Printed Name
Won Lh, Ws Ree
_” City, State, Zip Prisoner Register Number

 

. Signature of Attorney (if any)

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